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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

(1) Farm Credit Services of America, PCA,               )
                                                        )
                     Plaintiff,                         )      Case No. CIV-20-1261-R
                                                        )
v.                                                      )
                                                        )
(1) Michael Nelson Unruh,                               )
                                                        )
                     Defendants.                        )


                                        ORDER

       There comes on for consideration by the Court the Motion of Plaintiff, Farm

Credit Services of America, PCA (“FCA”), for Attorneys’ Fees and Costs and Brief in

Support Thereof, filed on May 26, 2021 (the “Motion”). Plaintiff appears by one of its

counsel, Gary A. Bryant. Although timely notice of the Motion was given to all parties

and no objections were filed to the Motion. After determining that adequate notice of the

Motion has been given, and after having reviewed the Motion and other pleadings filed in

the case, the Court finds that the Motion should be granted.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that FCA should

be and hereby is awarded its attorneys’ fees through May 27, 2021, in the total amount of

$3,935.50.
